859 F.2d 151Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.ANTHONY GARY THOMAS, Defendant-Appellant.
    No. 88-7671.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 26, 1988.Decided Sept. 16, 1988.
    
      Anthony Gary Thomas, appellant pro se.
      Pamela J. Bethel, Office of United States Attorney, for appellee.
      Before K.K. HALL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Anthony Gary Thomas appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Thomas, CR No. 83-243-A;  C/A No. 87-1003-AM (E.D.Va. May 18, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    